Case 2:12-md-02327 Document 639-24 Filed 06/11/13 Page 1 of 8 PageID #: 7577




                 EXHIBIT X
Case 2:12-md-02327 Document 639-24 Filed 06/11/13 Page 2 of 8 PageID #: 7578
Case 2:12-md-02327 Document 639-24 Filed 06/11/13 Page 3 of 8 PageID #: 7579
Case 2:12-md-02327 Document 639-24 Filed 06/11/13 Page 4 of 8 PageID #: 7580
Case 2:12-md-02327 Document 639-24 Filed 06/11/13 Page 5 of 8 PageID #: 7581
Case 2:12-md-02327 Document 639-24 Filed 06/11/13 Page 6 of 8 PageID #: 7582
Case 2:12-md-02327 Document 639-24 Filed 06/11/13 Page 7 of 8 PageID #: 7583
Case 2:12-md-02327 Document 639-24 Filed 06/11/13 Page 8 of 8 PageID #: 7584
